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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

5/9/2005

CASE NO: 04-20207

USA v. Deriko Williams

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